          Case 21-14486-abl        Doc 138     Entered 11/29/21 13:15:37        Page 1 of 4



  1

  2

  3

  4
      Entered on Docket
___________________________________________________________________
  5 November 29, 2021

  6

  7

  8
         CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
  9      Email: clarisse@nv-lawfirm.com
         ATKINSON LAW ASSOCIATES LTD.
 10      376 E Warm Springs Rd Suite 130
         Las Vegas, NV 89119
 11
         Telephone: (702) 614-0600
 12      Attorney for Robert E. Atkinson, Trustee

 13                              UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF NEVADA
 14

 15
           In re:                                                Case No. 21-14486-abl
                                                                 Chapter 7
 16        INFINITY CAPITAL MANAGEMENT, INC.
           dba INFINITY HEALTH CONNECTIONS,                      ORDER APPROVING
 17                                                              STIPULATION REGARDING
 18
                               Debtor.                           BANK ACCOUNT BALANCES

 19
                    The Court reviewed and considered the STIPULATION REGARDING BANK
 20
         ACCOUNT BALANCES [DE #137]. Good cause appearing therefore,
 21
         IT IS HEREBY ORDERED:
 22
                    1.    The Stipulation (attached hereto) is approved.
 23
                    2.    The Trustee is authorized to distribute the $25,371.92 in funds arising from
 24
         Debtor’s First Savings Bank account to HASelect, and may do so without further court order.
 25
         Such funds are not property of the bankruptcy estate.
 26
                    3.    The $37,478.44 from the three NSB Accounts are not subject to HASelect’s
 27
         security interest, and shall be property of the bankruptcy estate available for case
 28
         administration and distribution to unsecured creditors.
     Case 21-14486-abl      Doc 138     Entered 11/29/21 13:15:37   Page 2 of 4



 1
     IT IS SO ORDERED.
 2
     Respectfully submitted by:
 3          /s/ Clarisse Crisostomo
        CLARISSE L. CRISOSTOMO ESQ.
 4
        Nevada Bar No. 15526
 5      Attorney for Robert E. Atkinson, Trustee

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     Case 21-14486-abl       Doc 138
                                 137     Entered 11/29/21
                                                 11/24/21 13:15:37
                                                          11:28:47        Page 3
                                                                               1 of 4
                                                                                    2



 1   CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
     Email: clarisse@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5
                             UNITED STATES BANKRUPTCY COURT
 6
                                FOR THE DISTRICT OF NEVADA
 7
       In re:                                               Case No. 21-14486-abl
 8                                                          Chapter 7
       INFINITY CAPITAL MANAGEMENT, INC.
 9
       dba INFINITY HEALTH CONNECTIONS,                     STIPULATION REGARDING
10                                                          BANK ACCOUNT BALANCES
                           Debtor.
11

12
            Chapter 7 trustee Robert E. Atkinson (“Trustee”) and creditor HASELECT-
13
     MEDICAL RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP
14
     (“HASelect”), both by and through counsel, hereby stipulate and agree as follows:
15
            WHEREAS, Debtor’s Schedule A/B identifies one bank account at First Savings
16
     Bank (“FSB Account”) and three bank accounts in Nevada State Bank (“NSB Accounts”);
17
     and
18
            WHEREAS, Debtor has identified the FSB Account as its dedicated account for
19
     HASelect’s receivables and all deposits therein being held in trust for HASelect; and
20
            WHEREAS, Debtor has identified the three NSB Accounts to be Debtor’s regular
21
     operational account and two dormant operating accounts; and
22
            WHEREAS, the Trustee received four cashier’s checks from Debtor’s principal as
23
     follows:
24
                   One $25,371.92 check from Debtor’s First Savings Bank account,
25                 Three checks totaling $37,478.44 from Debtor’s three NSB Accounts;
26
            WHEREAS, HASelect does not have a deposit account control agreement for any of
27
     the three NSB Accounts; and
28
     Case 21-14486-abl       Doc 138
                                 137      Entered 11/29/21
                                                  11/24/21 13:15:37
                                                           11:28:47         Page 4
                                                                                 2 of 4
                                                                                      2



 1
            WHEREAS, Debtor’s principals testified under oath that HASelect did have a degree
 2
     of control over the FSB Account; and
 3
            WHEREAS, HASelect asserts that the control over the FSB Account is sufficient to
 4
     attach its security interest, pursuant to NRS § 104.9104 and other applicable law, to which
 5
     the Trustee agrees;
 6
     THEREFORE, the parties hereby stipulate as follows:
 7
             1. The Trustee shall turn over the $25,371.92 cashier’s check from First Savings
 8
                 Bank to HASelect. Such funds shall not be property of the bankruptcy estate.
 9
             2. The $37,478.44 from the three NSB Accounts shall not be subject to HASelect’s
10
                 security interest, and shall be property of the bankruptcy estate available for case
11
                 administration and distribution to unsecured creditors.
12
     IT IS SO STIPULATED.
13
                                               # # # # #
14

15    Dated: November 24, 2021                          Dated: November 24, 2021

16    ATKINSON LAW ASSOCIATES LTD.                      SHEA LARSEN
17
      /s/ Clarisse Crisostomo                           /s/ Bart Larsen
18    CLARISSE L. CRISOSTOMO, ESQ.                      BART K. LARSEN, ESQ.
      Nevada Bar No. 15526                              Nevada Bar No. 8538
19    Attorneys for Robert E. Atkinson, Trustee         Attorney for creditor HASelect
20

21

22

23

24

25

26

27

28
